Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 1 of 36
Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 2 of 36
Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 3 of 36
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Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 9 of 36
Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 10 of 36
Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 11 of 36
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     Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 14 of 36




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
JUDICIAL WATCH, INC.,                     )
                                          )
            Plaintiff,                    )
                                          )
                    v.                    )   Civil Action No. 20-02995 (EGS)
                                          )
U.S. DEPARTMENT OF JUSTICE,               )
                                          )
            Defendant.                    )
_________________________________________ )




                             EXHIBIT A
Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 15 of 36
Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 16 of 36
     Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 17 of 36




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
JUDICIAL WATCH, INC.,                     )
                                          )
            Plaintiff,                    )
                                          )
                    v.                    )   Civil Action No. 20-02995 (EGS)
                                          )
U.S. DEPARTMENT OF JUSTICE,               )
                                          )
            Defendant.                    )
_________________________________________ )




                             EXHIBIT %
   Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 18 of 36
                                                                            U.S. Department of Justice




                                                                           Federal Bureau of Investigation
                                                                           Washington, D.C. 20535

                                                                           March 1, 2018

MR. WILLIAM F MARSHALL
JUDICIAL WATCH, INC.
SUITE 800
425 THIRD STREET, SOUTHWEST
WASHINGTON, DC 20024

                                                                FOIPA Request No.: 1397415-000
                                                                Subject: Text messages sent between
                                                                Andrew McCabe and Lisa Page, Jennifer
                                                                Leonard, Peter Strzok, and/or Lisa Monaco
                                                                (January 1, 2015 – December 31, 2015)

Dear Mr. Marshall:


           This acknowledges receipt of your Freedom of Information Act (FOIA) request to the FBI. Below
you will find check boxes and informational paragraphs about your request, as well as specific
determinations required by these statutes. Please read each one carefully.

                 Your request has been received at FBI Headquarters for processing.

                 Your request has been received at the ______ Resident Agency / _______ Field Office
                 and forwarded to FBI Headquarters for processing.

                 The subject of your request is currently being processed and documents will be released
                 to you upon completion.

                 Release of responsive records will be posted to the FBI’s electronic FOIA Library (The
                 Vault), http:/vault.fbi.gov, and you will be contacted when the release is posted.

                 Your request for a public interest fee waiver is under consideration, and you will be
                 advised of the decision at a later date. If your fee waiver is not granted, you will be
                 responsible for applicable fees per your designated requester fee category below.

                 For the purpose of assessing any fees, we have determined:

                          As a commercial use requester, you will be charged applicable search, review,
                          and duplication fees in accordance with 5 USC § 552 (a)(4)(A)(ii)(I).

                          As an educational institution, noncommercial scientific institution or
                          representative of the news media requester, you will be charged applicable
                          duplication fees in accordance with 5 USC § 552 (a)(4)(A)(ii)(II).

                          As a general (all others) requester, you will be charged applicable search and
                          duplication fees in accordance with 5 USC § 552 (a)(4)(A)(ii)(III).


         Please check the status of your FOIPA request at www.fbi.gov/foia by clicking on FOIPA Status
and entering your FOIPA Request Number. Status updates are adjusted weekly. The status of newly
assigned requests may not be available until the next weekly update. If the FOIPA has been closed the
notice will indicate that appropriate correspondence has been mailed to the address on file.
    Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 19 of 36



        For questions regarding our determinations, visit the www.fbi.gov/foia website under “Contact Us.”
The FOIPA Request number listed above has been assigned to your request. Please use this number in all
correspondence concerning your request.

          You may file an appeal by writing to the Director, Office of Information Policy (OIP), United States
Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, D.C. 20530-0001, or you
may submit an appeal through OIP's FOIA online portal by creating an account on the following web
site: https://foiaonline.regulations.gov/foia/action/public/home. Your appeal must be postmarked or
electronically transmitted within ninety (90) days from the date of this letter in order to be considered timely.
If you submit your appeal by mail, both the letter and the envelope should be clearly marked “Freedom of
Information Act Appeal.” Please cite the FOIPA Request Number assigned to your request so it may be
easily identified.

          You may seek dispute resolution services by contacting the Office of Government Information
Services (OGIS) at 877-684-6448, or by emailing ogis@nara.gov. Alternatively, you may contact the FBI’s
FOIA Public Liaison by emailing foipaquestions@fbi.gov. If you submit your dispute resolution
correspondence by email, the subject heading should clearly state “Dispute Resolution Services.” Please
also cite the FOIPA Request Number assigned to your request so it may be easily identified.




                                                                  Sincerely,




                                                                  David M. Hardy
                                                                  Section Chief,
                                                                  Record/Information
                                                                    Dissemination Section
                                                                  Records Management Division
     Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 20 of 36




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
JUDICIAL WATCH, INC.,                     )
                                          )
            Plaintiff,                    )
                                          )
                    v.                    )   Civil Action No. 20-02995 (EGS)
                                          )
U.S. DEPARTMENT OF JUSTICE,               )
                                          )
            Defendant.                    )
_________________________________________ )




                             EXHIBIT &
    Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 21 of 36
                                                                                U.S. Department of Justice




                                                                                Federal Bureau of Investigation
                                                                               Washington, D.C. 20535

                                                                               March 27, 2019


MR. WILLIAM F. MARSHALL
JUDICIAL WATCH
SUITE 800
425 THIRD STREET SW
WASHINGTON, DC 20024

                                                                  FOIPA Request No.: 1397415-000
                                                                  Subject: Text messages sent between
                                                                  Andrew McCabe and Lisa Page, Jennifer
                                                                  Leonard, Peter Strzok, and/or Lisa Monaco
                                                                  (January 1, 2015 – December 31, 2015)

Dear Mr. Marshall:

         This is in response to your Freedom of Information/Privacy Acts (FOIPA) request regarding “all text
messages sent between FBI Deputy Director Andrew McCabe and Lisa Page, Jennifer Leonard, Peter
Strzok, and/or Lisa Monaco between the dates of January 1, 2015 and December 31, 2015.”

         The information you seek does not identify agency records which fall under the purview of the
FOIA. Per the FOIA, agencies provide access to reasonably described, nonexempt, government records [5
U.S.C. § 552(a)(3)(A); 28 C.F.R. § 16.3(b)]. As your general request for electronic type "text" messages
does not identify agency records, your request is not cognizable under the FOIA and, therefore, is closed.

         It is unnecessary to adjudicate your request for a fee waiver, as no fees are being assessed.

        For questions on how to reasonably describe your request, please email us at
foipaquestions@fbi.gov. You may also visit www.fbi.gov and select “Stats and Services,” “FOIA/Records
Requests,” and “Requesting FBI Records” for additional guidance.

          You may file an appeal by writing to the Director, Office of Information Policy (OIP), United States
Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, D.C. 20530-0001, or you
may submit an appeal through OIP's FOIAonline portal by creating an account on the following web
site: https://foiaonline.regulations.gov/foia/action/public/home. Your appeal must be postmarked or
electronically transmitted within ninety (90) days from the date of this letter in order to be considered timely.
If you submit your appeal by mail, both the letter and the envelope should be clearly marked “Freedom of
Information Act Appeal.” Please cite the FOIPA Request Number assigned to your request so that it may
be easily identified.

          You may seek dispute resolution services by contacting the Office of Government Information
Services (OGIS) at 877-684-6448, or by emailing ogis@nara.gov. Alternatively, you may contact the FBI’s
FOIA Public Liaison by emailing foipaquestions@fbi.gov. If you submit your dispute resolution
correspondence by email, the subject heading should clearly state “Dispute Resolution Services.” Please
also cite the FOIPA Request Number assigned to your request so that it may be easily identified.

         Enclosed for your information is a copy of the FBI Fact Sheet.


                                                                  Sincerely,



                                                                   David M. Hardy
                                                                   Section Chief,
                                                                   Record/Information
                                                                    Dissemination Section
                                                                   Records Management Division

Enclosure
            Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 22 of 36



                                        FBI FACT SHEET


x   The primary functions of the FBI are national security and law enforcement.

x   The FBI does not keep a file on every citizen of the United States.

x   The FBI was not established until 1908 and we have very few records prior to the 1920s.

x   FBI files generally contain reports of FBI investigations of a wide range of matters, including counterterrorism,
    counter-intelligence, cyber crime, public corruption, civil rights, organized crime, white collar crime, major thefts,
    violent crime, and applicants.

x   The FBI does not issue clearances or non-clearances for anyone other than its own personnel or persons
    having access to FBI facilities. Background investigations for security clearances are conducted by many
    different Government agencies. Persons who received a clearance while in the military or employed with some
    other government agency should contact that entity. Most government agencies have websites which are
    accessible on the internet which have their contact information.

x   An identity history summary check or “rap sheet” is NOT the same as an “FBI file.” It is a listing of
    information taken from fingerprint cards and related documents submitted to the FBI in connection with arrests,
    federal employment, naturalization or military service. The subject of a “rap sheet” may obtain a copy by
    submitting a written request to FBI CJIS Division – Summary Request, 1000 Custer Hollow Road, Clarksburg, WV
    26306. Along with a specific written request, the individual must submit a new full set of his/her fingerprints in
    order to locate the record, establish positive identification, and ensure that an individual’s records are not
    disseminated to an unauthorized person. The fingerprint submission must include the subject’s name, date and
    place of birth. There is a required fee of $18 for this service, which must be submitted by money order or
    certified check made payable to the Treasury of the United States. A credit card payment option is also
    available. Forms for this option and additional directions may be obtained by accessing the FBI Web site at
    www.fbi.gov/about-us/cjis/identity-history-summary-checks.

x   The National Name Check Program (NNCP) conducts a search of the FBI’s Universal Index (UNI) to identify
    any information contained in FBI records that may be associated with an individual and provides the results of that
    search to a requesting federal, state or local agency. Names are searched in a multitude of combinations and
    phonetic spellings to ensure all records are located. The NNCP also searches for both “main” and “cross
    reference” files. A main file is an entry that carries the name corresponding to the subject of a file, while a cross
    reference is merely a mention of an individual contained in a file. The results from a search of this magnitude
    can result in several “hits” and “idents” on an individual. In each instance where UNI has identified a name
    variation or reference, information must be reviewed to determine if it is applicable to the individual in question.

x   The Record/Information Dissemination Section (RIDS) searches for records and provides copies of FBI files
    responsive to Freedom of Information or Privacy Act (FOIPA) requests for information. RIDS provides
    responsive documents to requesters seeking “reasonably described information.” For a FOIPA search, the
    subject’s name, event, activity, or business is searched to determine whether there is an associated investigative
    file. This is called a “main file search” and differs from the NNCP search.

                  FOR GENERAL INFORMATION ABOUT THE FBI, VISIT OUR WEBSITE AT
                                         www.fbi.gov




                                                                                                                    7/18/16
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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
JUDICIAL WATCH, INC.,                     )
                                          )
            Plaintiff,                    )
                                          )
                    v.                    )   Civil Action No. 20-02995 (EGS)
                                          )
U.S. DEPARTMENT OF JUSTICE,               )
                                          )
            Defendant.                    )
_________________________________________ )




                             EXHIBIT '
Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 24 of 36
Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 25 of 36
     Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 26 of 36




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
JUDICIAL WATCH, INC.,                     )
                                          )
            Plaintiff,                    )
                                          )
                    v.                    )   Civil Action No. 20-02995 (EGS)
                                          )
U.S. DEPARTMENT OF JUSTICE,               )
                                          )
            Defendant.                    )
_________________________________________ )




                             EXHIBIT (
       Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 27 of 36

                                                    U.S. Department of Justice
       Office of                                    Office of Information Policy
                                                    Sixth Floor
                                                    441 G Street, NW
                                                    Washington, DC 20530-0001

Telephone: (202) 514-3642




William F. Marshall
Judicial Watch
Suite 800
425 Third Street SW                                  Re:       Appeal No. DOJ-AP-2019-005059
Washington, DC 20024                                           Request No. 1397415-000
bmarshall@judicialwatch.org                                    DRC:PJA

VIA: Email

Dear William Marshall:

        You appealed from the action of the Federal Bureau of Investigation on your Freedom of
Information Act request for access to any and all text messages sent between former FBI Deputy
Director Andrew McCabe and Lisa Page, Jennifer Leonard, Peter Strzok, and/or Lisa Monaco
between January 1, 2015, and December 31, 2015. I note that your appeal concerns the FBI's
full denial of your request.

        After carefully considering your appeal, and as a result of discussions between FBI
personnel and this Office, I am remanding your request to the FBI for further review. If the FBI
conducts a search and determines that records are releasable, it will send them to you directly,
subject to any applicable fees. You may appeal any future adverse determination made by the
FBI. If you would like to inquire about the status of this remanded request or to receive an
estimated date of completion, please contact the FBI directly at (540) 868-1535.

       If you have any questions regarding the action this Office has taken on your appeal, you
may contact this Office's FOIA Public Liaison for your appeal. Specifically, you may speak with
the undersigned agency official by calling (202) 514-3642.

       If you are dissatisfied with my action on your appeal, the FOIA permits you to file a
lawsuit in federal district court in accordance with 5 U.S.C. § 552(a)(4)(B).

                                                    Sincerely,
                                                                                                   8/3/2020



                                                      X
                                                      Matthew W. Hurd
                                                      Acting Chief, Administrative Appeals Staff
                                                      Signed by: MATTHEW HURD
     Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 28 of 36




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
JUDICIAL WATCH, INC.,                     )
                                          )
            Plaintiff,                    )
                                          )
                    v.                    )   Civil Action No. 20-02995 (EGS)
                                          )
U.S. DEPARTMENT OF JUSTICE,               )
                                          )
            Defendant.                    )
_________________________________________ )




                             EXHIBIT )
    Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 29 of 36
                                                                              U.S. Department of Justice




                                                                             Federal Bureau of Investigation
                                                                             Washington, D.C. 20535


                                                                             September 14, 2020

MR. WILLIAM F. MARSHALL
JUDICIAL WATCH
SUITE 800
425 THIRD STREET SW
WASHINGTON, DC 20024

                                                                OIP Appeal Number: 2019-005059
                                                                FOIPA Appeal No.: 1397415-000
                                                                Subject: Text messages sent between
                                                                Andrew McCabe and Lisa Page, Jennifer
                                                                Leonard, Peter Strzok, and/or Lisa Monaco
                                                                (January 1, 2015 – December 31, 2015)

Dear Mr. Marshall:

         This acknowledges your Freedom of Information/Privacy Acts (FOIPA) remanded appeal has been
received by the FBI from the Office of Information and Policy for processing. Below you will find check boxes
and informational paragraphs about your request. Please read each one carefully.

                  We have opened your remanded appeal and will inform you of the results in future
                  correspondence.

                  We have converted your NFP into a FOIPA appeal; therefore, the NFP number originally
                  assigned to your request will now appear as the FOIPA appeal number listed above.

                  Your request for a fee waiver is being considered and you will be advised of the decision if
                  fees are applicable.

         Please check the status of your FOIPA request at www.fbi.gov/foia by clicking on FOIPA Status.
Enter the OIP Appeal Number (ex. 201500123) listed above, without hyphens. Status updates are
adjusted weekly. The status of newly assigned requests may not be available until the next weekly update.
If the FOIPA has been closed the notice will indicate that appropriate correspondence has been mailed to
the address on file.

        For questions regarding our determinations, visit the www.fbi.gov/foia website under “Contact Us.”
The FOIPA Request number listed above has been assigned to your request. Please use this number in all
correspondence concerning your request.

       The FOIPA Appeal Number listed above has been assigned to your request. Please reference the
FOIPA Appeal Number and OIP Appeal Number in all future correspondence concerning your request.


                                                                Sincerely,




                                                                Michael G. Seidel
                                                                Section Chief
                                                                Record/Information
                                                                  Dissemination Section
                                                                Information Management Division
     Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 30 of 36




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
JUDICIAL WATCH, INC.,                     )
                                          )
            Plaintiff,                    )
                                          )
                    v.                    )   Civil Action No. 20-02995 (EGS)
                                          )
U.S. DEPARTMENT OF JUSTICE,               )
                                          )
            Defendant.                    )
_________________________________________ )




                             EXHIBIT *
       Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 31 of 36
                                                                                  U.S. Department of Justice




                                                                                  Federal Bureau of Investigation
                                                                                  Washington, D.C. 20535

                                                                                  March 17, 2021

  MR. WILLIAM F. MARSHALL
  JUDICIAL WATCH
  SUITE 800
  425 THIRD STREET, SW
  WASHINGTON, DC 20024

                                                              Judicial Watch v. DOJ
                                                              FOIPA Request No.: 1397415-000
                                                              Subject: Text Messages Sent Between Andrew
                                                              McCabe and Lisa Page, Jennifer Leonard, Peter
                                                              Strzok, and/or Lisa Monaco
                                                              (January 1, 2015 – December 1, 2015)

Dear Mr. Marshall:

          The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
United States Code, Section 552/552a. Below you will find checked boxes under applicable statutes for the
exemptions asserted to protect information exempt from disclosure. The appropriate exemptions are noted on the
processed pages next to redacted information. In addition, a deleted page information sheet was inserted to indicate
where pages were withheld entirely pursuant to applicable exemptions. An Explanation of Exemptions is enclosed to
further explain justification for withheld information.

                            Section 552                                     Section 552a
            (b)(1)                                (b)(7)(A)                   (d)(5)
            (b)(2)                                (b)(7)(B)                    (j)(2)
            (b)(3)                                (b)(7)(C)                    (k)(1)
                                                  (b)(7)(D)                    (k)(2)
                                                  (b)(7)(E)                    (k)(3)
                                                  (b)(7)(F)                    (k)(4)

            (b)(4)                                (b)(8)                       (k)(5)

            (b)(5)                                (b)(9)                       (k)(6)
            (b)(6)                                                             (k)(7)

        4 pages were reviewed and 2 pages are being released.

       Please see the paragraphs below for relevant information specific to your request and the enclosed FBI
FOIPA Addendum for standard responses applicable to all requests.

            Document(s) were located which originated with, or contained information concerning, other
            Government Agency (ies) [OGA].

                This information has been referred to the OGA(s) for review and direct response to you.
                We are consulting with another agency. The FBI will correspond with you regarding this information
                when the consultation is completed.
       Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 32 of 36


         Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to your
request. “Part 1” of the Addendum includes standard responses that apply to all requests. “Part 2” includes
additional standard responses that apply to all requests for records about yourself or any third party individuals.
“Part 3” includes general information about FBI records that you may find useful. Also enclosed is our Explanation
of Exemptions.

          Although your request is in litigation, we are required by law to provide you the following information:

         If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this request,
you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United States
Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an appeal through
OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be postmarked or electronically
transmitted within ninety (90) days of the date of my response to your request. If you submit your appeal by mail,
both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal." Please cite the
FOIPA Request Number assigned to your request so it may be easily identified.

          You may seek dispute resolution services by contacting the Office of Government Information Services
(OGIS). The contact information for OGIS is as follows: Office of Government Information Services, National
Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769. Alternatively,
you may contact the FBI’s FOIA Public Liaison by emailing foipaquestions@fbi.gov. If you submit your dispute
resolution correspondence by email, the subject heading should clearly state “Dispute Resolution Services.” Please
also cite the FOIPA Request Number assigned to your request so it may be easily identified.

        Please direct any further inquiries about this case to the Attorney representing the Government in this
matter. Please use the FOIPA Request Number and/or Civil Action Number in all correspondence or inquiries
concerning your request.

             C
             h See additional information which follows.



                                                                  Sincerely,


                                                                  Michael G. Seidel
                                                                  Section Chief
                                                                  Record/Information
                                                                    Dissemination Section
                                                                  Information Management Division




Enclosure(s)


         The enclosed documents represent the final release of information responsive to your Freedom of
Information Act (FOIA) litigation. The documents are Bates numbered FBI (20-cv-2995)-1 – FBI (20-cv-2995)-4.

          It is unnecessary to adjudicate your request for a fee waiver as this material is being provided to you at no
charge.
                Case 1:20-cv-02995-EGS Document 14-2 Filed 06/14/21 Page 33 of 36

                                                       FBI FOIPA Addendum

As referenced in our letter responding to your Freedom of Information/Privacy Acts (FOIPA) request, the FBI FOIPA Addendum
provides information applicable to your request. Part 1 of the Addendum includes standard responses that apply to all
requests. Part 2 includes standard responses that apply to requests for records about individuals to the extent your request
seeks the listed information. Part 3 includes general information about FBI records, searches, and programs.

Part 1: The standard responses below apply to all requests:

    (i)     5 U.S.C. § 552(c). Congress excluded three categories of law enforcement and national security records from the
            requirements of the FOIPA [5 U.S.C. § 552(c)]. FBI responses are limited to those records subject to the requirements
            of the FOIPA. Additional information about the FBI and the FOIPA can be found on the www.fbi.gov/foia website.

    (ii)    Intelligence Records. To the extent your request seeks records of intelligence sources, methods, or activities, the FBI
            can neither confirm nor deny the existence of records pursuant to FOIA exemptions (b)(1), (b)(3), and as applicable to
            requests for records about individuals, PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(1), (b)(3), and (j)(2)]. The mere
            acknowledgment of the existence or nonexistence of such records is itself a classified fact protected by FOIA exemption
            (b)(1) and/or would reveal intelligence sources, methods, or activities protected by exemption (b)(3) [50 USC §
            3024(i)(1)]. This is a standard response and should not be read to indicate that any such records do or do not exist.

Part 2: The standard responses below apply to all requests for records on individuals:

    (i)     Requests for Records about any Individual—Watch Lists. The FBI can neither confirm nor deny the existence of
            any individual’s name on a watch list pursuant to FOIA exemption (b)(7)(E) and PA exemption (j)(2) [5 U.S.C. §§
            552/552a (b)(7)(E), (j)(2)]. This is a standard response and should not be read to indicate that watch list records do or
            do not exist.

    (ii)    Requests for Records about any Individual—Witness Security Program Records. The FBI can neither confirm
            nor deny the existence of records which could identify any participant in the Witness Security Program pursuant to FOIA
            exemption (b)(3) and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(3), 18 U.S.C. 3521, and (j)(2)]. This is a standard
            response and should not be read to indicate that such records do or do not exist.

    (iii)   Requests for Records for Incarcerated Individuals. The FBI can neither confirm nor deny the existence of records
            which could reasonably be expected to endanger the life or physical safety of any incarcerated individual pursuant to
            FOIA exemptions (b)(7)(E), (b)(7)(F), and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(7)(E), (b)(7)(F), and (j)(2)].
            This is a standard response and should not be read to indicate that such records do or do not exist.

Part 3: General Information:

    (i)     Record Searches. The Record/Information Dissemination Section (RIDS) searches for reasonably described records by
            searching systems or locations where responsive records would reasonably be found. A standard search normally
            consists of a search for main files in the Central Records System (CRS), an extensive system of records consisting of
            applicant, investigative, intelligence, personnel, administrative, and general files compiled by the FBI per its law
            enforcement, intelligence, and administrative functions. The CRS spans the entire FBI organization, comprising records of
            FBI Headquarters, FBI Field Offices, and FBI Legal Attaché Offices (Legats) worldwide; Electronic Surveillance (ELSUR)
            records are included in the CRS. Unless specifically requested, a standard search does not include references,
            administrative records of previous FOIPA requests, or civil litigation files. For additional information about our record
            searches, visit www.fbi.gov/services/information-management/foipa/requesting-fbi-records.

    (ii)    FBI Records. Founded in 1908, the FBI carries out a dual law enforcement and national security mission. As part of this
            dual mission, the FBI creates and maintains records on various subjects; however, the FBI does not maintain records on
            every person, subject, or entity.

    (iii)   Requests for Criminal History Records or Rap Sheets. The Criminal Justice Information Services (CJIS) Division
            provides Identity History Summary Checks – often referred to as a criminal history record or rap sheet. These criminal
            history records are not the same as material in an investigative “FBI file.” An Identity History Summary Check is a
            listing of information taken from fingerprint cards and documents submitted to the FBI in connection with arrests, federal
            employment, naturalization, or military service. For a fee, individuals can request a copy of their Identity History
            Summary Check. Forms and directions can be accessed at www.fbi.gov/about-us/cjis/identity-history-summary-checks.
            Additionally, requests can be submitted electronically at www.edo.cjis.gov. For additional information, please contact
            CJIS directly at (304) 625-5590.

    (iv)    National Name Check Program (NNCP). The mission of NNCP is to analyze and report information in response to
            name check requests received from federal agencies, for the purpose of protecting the United States from foreign and
            domestic threats to national security. Please be advised that this is a service provided to other federal agencies.
            Private Citizens cannot request a name check.
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                                                        EXPLANATION OF EXEMPTIONS

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552

(b)(1)   (A) specifically authorized under criteria established by an Executive order to be kept secret in the interest of national defense or foreign
         policy and (B) are in fact properly classified to such Executive order;

(b)(2)   related solely to the internal personnel rules and practices of an agency;

(b)(3)   specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (A) requires that the matters
         be withheld from the public in such a manner as to leave no discretion on issue, or (B) establishes particular criteria for withholding or refers
         to particular types of matters to be withheld;

(b)(4)   trade secrets and commercial or financial information obtained from a person and privileged or confidential;

(b)(5)   inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in litigation with
         the agency;

(b)(6)   personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy;

(b)(7)   records or information compiled for law enforcement purposes, but only to the extent that the production of such law enforcement records or
         information ( A ) could reasonably be expected to interfere with enforcement proceedings, ( B ) would deprive a person of a right to a fair
         trial or an impartial adjudication, ( C ) could reasonably be expected to constitute an unwarranted invasion of personal privacy, ( D ) could
         reasonably be expected to disclose the identity of confidential source, including a State, local, or foreign agency or authority or any private
         institution which furnished information on a confidential basis, and, in the case of record or information compiled by a criminal law
         enforcement authority in the course of a criminal investigation, or by an agency conducting a lawful national security intelligence
         investigation, information furnished by a confidential source, ( E ) would disclose techniques and procedures for law enforcement
         investigations or prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
         reasonably be expected to risk circumvention of the law, or ( F ) could reasonably be expected to endanger the life or physical safety of any
         individual;

(b)(8)   contained in or related to examination, operating, or condition reports prepared by, on behalf of, or for the use of an agency responsible for
         the regulation or supervision of financial institutions; or

(b)(9)   geological and geophysical information and data, including maps, concerning wells.

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552a

(d)(5)   information compiled in reasonable anticipation of a civil action proceeding;

(j)(2)   material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or reduce crime
         or apprehend criminals;

(k)(1)   information which is currently and properly classified pursuant to an Executive order in the interest of the national defense or foreign policy,
         for example, information involving intelligence sources or methods;

(k)(2)   investigatory material compiled for law enforcement purposes, other than criminal, which did not result in loss of a right, benefit or privilege
         under Federal programs, or which would identify a source who furnished information pursuant to a promise that his/her identity would be
         held in confidence;

(k)(3)   material maintained in connection with providing protective services to the President of the United States or any other individual pursuant to
         the authority of Title 18, United States Code, Section 3056;

(k)(4)   required by statute to be maintained and used solely as statistical records;

(k)(5)   investigatory material compiled solely for the purpose of determining suitability, eligibility, or qualifications for Federal civilian
         employment or for access to classified information, the disclosure of which would reveal the identity of the person who furnished
         information pursuant to a promise that his/her identity would be held in confidence;

(k)(6)   testing or examination material used to determine individual qualifications for appointment or promotion in Federal Government service the
         release of which would compromise the testing or examination process;

(k)(7)   material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of the person who
         furnished the material pursuant to a promise that his/her identity would be held in confidence.
                                                                                                                                              FBI/DOJ
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